                                                                                                                                                 07/05/24 5:04 PM
                                  Case 24-10136-KKS                  Doc 1        Filed 07/05/24           Page 1 of 49


Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Celebrity's Management Company, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8604 SW 31st Avenue
                                  Gainesville, FL 32608
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Alachua                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
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Debtor    Celebrity's Management Company, LLC                                                           Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the                 Chapter 7
     debtor filing?
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

9.   Were prior bankruptcy                 No.
     cases filed by or against             Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases               No
    pending or being filed by a            Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                       Debtor     Fredrick & Taja Jacobs                                          Relationship            Owners
                                                             Northern District of
                                                  District   Florida                       When                              Case number, if known

 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                                                                                                                                                   07/05/24 5:04 PM
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Debtor   Celebrity's Management Company, LLC                                                       Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Celebrity's Management Company, LLC                                                       Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       July 5, 2024
                                                  MM / DD / YYYY


                             X /s/       Taja Lee Jacobs                                                   Taja Lee Jacobs
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Managing Member




18. Signature of attorney    X /s/ Kevin B. Paysinger                                                      Date    July 5, 2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Kevin B. Paysinger
                                 Printed name

                                 Lansing Roy PA
                                 Firm name

                                 1710 Shadowood Lane Suite 210
                                 Jacksonville, FL 32207
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (904) 391-0030x101            Email address      kpaysinger@lansingroy.com

                                 056742 FL
                                 Bar number and State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
                                                                                                                                                07/05/24 5:04 PM
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 Fill in this information to identify the case:

 Debtor name         Celebrity's Management Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           July 5, 2024                           X /s/ Taja Lee Jacobs
                                                                       Signature of individual signing on behalf of debtor

                                                                        Taja Lee Jacobs
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                                                                                                                                   07/05/24 5:04 PM
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 Fill in this information to identify the case:

 Debtor name            Celebrity's Management Company, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              1,000.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $              1,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        5,342,734.13


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,342,734.13




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                                                                                                                                     07/05/24 5:04 PM
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 Fill in this information to identify the case:

 Debtor name         Celebrity's Management Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
        Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 1
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                                                                                                                                       07/05/24 5:04 PM
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 Debtor         Celebrity's Management Company, LLC                                           Case number (If known)
                Name

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.        Office furniture

 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            Cookware                                                                   Unknown                                            $1,000.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                             $1,000.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
                No
                Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademark for Celebrity's Soul Food
            Class 043
            Serial 97488655                                                            Unknown                                                  $0.00



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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                                                                                                                                    07/05/24 5:04 PM
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 Debtor         Celebrity's Management Company, LLC                                          Case number (If known)
                Name

            Debtor was a franchisor of soul food
            restaurant concept and entered into franchise
            agreements with various franchisees, all of
            which are closed.                                                               $0.00                                            $0.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.
                                                                                                                                          $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Potential claim for defamation against various
            franchisees.                                                                                                               Unknown
            Nature of claim          Defamation
            Amount requested                             $0.00



            Potential claim for defamation against Madison Ortiz                                                                       Unknown
            Nature of claim          Defamation
            Amount requested                            $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
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 Debtor         Celebrity's Management Company, LLC                                          Case number (If known)
                Name

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.
                                                                                                                                $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                    page 4
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                                                                                                                                                                     07/05/24 5:04 PM
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 Debtor          Celebrity's Management Company, LLC                                                                Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                    $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $1.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                           $1,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                              $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                               $1,001.00          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                    $1,001.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 5
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                                                                                                                                             07/05/24 5:04 PM
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 Fill in this information to identify the case:

 Debtor name         Celebrity's Management Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of 1
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                                                                                                                                                                         07/05/24 5:04 PM
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 Fill in this information to identify the case:

 Debtor name         Celebrity's Management Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                             Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                               Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown        Unknown
           Internal Revenue Service                                  Check all that apply.
                                                                        Contingent
           PO Box 7346
                                                                        Unliquidated
           PHILADELPHIA, PA 19101-7346
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Tax Liability
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                       $810.41
           ADT
                                                                                       Contingent
           452 Sable Blvd Unit G                                                       Unliquidated
           Aurora, CO 80011                                                            Disputed
           Date(s) debt was incurred                                               Basis for the claim: Services Rendered
           Last 4 digits of account number 1526                                    Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                       $502.67
           ADT
                                                                                       Contingent
           452 Sable Blvd Unit G                                                       Unliquidated
           Aurora, CO 80011                                                            Disputed
           Date(s) debt was incurred                                               Basis for the claim: Services Rendered
           Last 4 digits of account number 1502                                    Is the claim subject to offset?      No         Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     Unknown
           Alton Cheaves
                                                                                       Contingent
           3643 Suitland Rd. SE                                                        Unliquidated
           Washington, DC 20020-1249                                                   Disputed
           Date(s) debt was incurred                                               Basis for the claim: Partner/Investor
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes

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 Debtor       Celebrity's Management Company, LLC                                                     Case number (if known)
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 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,989.54
          Amazon Business
          Attn: Director of Sales
                                                                                Contingent
          325 9th Ave. N.                                                       Unliquidated
          Seattle, WA 98109-5210                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Andrea Sherwood
                                                                                Contingent
          289 Lake Diamond Avenue                                               Unliquidated
          Ocala, FL 34472                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Labor Claim
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Andrew Clark
                                                                                Contingent
          961 N 1075 W                                                          Unliquidated
          Layton, UT 84041                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner/Investor
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Anthony Anderson
                                                                                Contingent
          253 Main Street Suite 109                                             Unliquidated
          Matawan, NJ 07747                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,768.00
          Aramark
                                                                                Contingent
          2680 Palumbo Drive                                                    Unliquidated
          Lexington, KY 40509                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number 2986                               Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,109.56
          Aramark
                                                                                Contingent
          2680 Palumbo Drive                                                    Unliquidated
          Lexington, KY 40509                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number 5278                               Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Arlene Nash Jones
                                                                                Contingent
          2056 NW 55th Blvd                                                     Unliquidated
          Gainesville, FL 32653                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner/Investor
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $289.33
          ATT/DirectTV
                                                                                Contingent
          2260 E Imperial Hwy                                                   Unliquidated
          El Segundo, CA 90245                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number 6016                               Is the claim subject to offset?      No         Yes




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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,409.61
          Bear Robotics, Inc.
                                                                                Contingent
          16650 Westgrove Dr. Suite 175                                         Unliquidated
          Addison, TX 75001                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $311.00
          BentoBox Websites
                                                                                Contingent
          584 Broadway, 4th Floor                                               Unliquidated
          New York, NY 10012                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Burning Bush, LLC
                                                                                Contingent
          2237 SW 19TH AVE ST, STE 101                                          Unliquidated
          Ocala, FL 34471                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Lease Deficiency
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cavis Callies
          Callies Enterprises LLC
                                                                                Contingent
          4209 Holiday Place                                                    Unliquidated
          Oklahoma City, OK 73112                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,232.93
          CDO Group
                                                                                Contingent
          333 W. Harrison Street                                                Unliquidated
          Oak Park, IL 60304                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $51,418.15
          Central Products, LLC
          dba Central Restaurant Products
                                                                                Contingent
          7750 Georgetown Road                                                  Unliquidated
          Indianapolis, IN 46268                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Supplier
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,224.93
          Chef Works, Inc.
          c/o Pucin & Friedland
                                                                                Contingent
          5805 Sepulveda Blvd., 4th Floor                                       Unliquidated
          Sherman Oaks, CA 91411                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Supplier
          Last 4 digits of account number 1210                               Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Christopher Greigo
                                                                                Contingent
          31 Fir Loop                                                           Unliquidated
          Cedar Crest, NM 87008                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


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 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $795.00
          Clean Cut Lawn Care LLC
                                                                                Contingent
          101 NE 41st Avenue                                                    Unliquidated
          Ocala, FL 34470                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,009.53
          Cloud Kitchens
          c/o The Leviton Law Firm, Ltd.
                                                                                Contingent
          One Pierce Place, Suite 725W                                          Unliquidated
          Itasca, IL 60143                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Supplier
          Last 4 digits of account number 6848                               Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,388.69
          Comcast Business
                                                                                Contingent
          1100 Northpoint Pkwy                                                  Unliquidated
          West Palm Beach, FL 33407-1937                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number 9325                               Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Courtney & Jennifer Welch
                                                                                Contingent
          3233 W. Hartland Drive                                                Unliquidated
          Southaven, MS 38672                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          David & Crayonnia Gordon Somers
                                                                                Contingent
          2601 Tiny Town Road                                                   Unliquidated
          Clarksville, TN 37042                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner/Investor
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          David Giusto
                                                                                Contingent
          2813 W. Ottio Avenue                                                  Unliquidated
          Tampa, FL 33607                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner/Investor
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dee Dixon
                                                                                Contingent
          160 Ellsworth Circle                                                  Unliquidated
          Saint Johns, FL 32259                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner/Investor
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Deniel TImmons
                                                                                Contingent
          410 SE Olustee Avenue                                                 Unliquidated
          Lake City, FL 32025                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner/Investor
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,000.00
          Dr. Valda Slack
                                                                                Contingent
          17867 SE 115th Circle                                                 Unliquidated
          Spring Hill, FL 34609                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $585.25
          Duke Energy
                                                                                Contingent
          PO Box 1090                                                           Unliquidated
          Charlotte, NC 28201-1090                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim: Utilities
          Last 4 digits of account number 8604                               Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $146.73
          Duke Energy
                                                                                Contingent
          PO Box 1090                                                           Unliquidated
          Charlotte, NC 28201-1090                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim: Utilities
          Last 4 digits of account number 8406                               Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $191.53
          Easy Ice, LLC
                                                                                Contingent
          PO Box 879                                                            Unliquidated
          Marquette, MI 49855                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number 7804                               Is the claim subject to offset?      No         Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $399.32
          Expand LLC
                                                                                Contingent
          3600 Embassy Pkwy, Suite 120                                          Unliquidated
          Akron, OH 44333                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Supplier
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          Florida Express
                                                                                Contingent
          PO Box 5058                                                           Unliquidated
          Ocala, FL 34478                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $161.56
          Florida Natural Gas
          c/o Virtuoso Sourcing Group
          4500 Cherry Creek South Drive
                                                                                Contingent
          Suite 500                                                             Unliquidated
          Glendale, CO 80246                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Utilities
          Last 4 digits of account number 7581                               Is the claim subject to offset?      No         Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $600.25
          Florida Pest Control
                                                                                Contingent
          PO Box 13848                                                          Unliquidated
          Reading, PA 19612                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number 5209                               Is the claim subject to offset?      No         Yes



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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,600.00
          FranConnect, LLC
          13865 Sunrise Valley Drive
                                                                                Contingent
          Suite 150                                                             Unliquidated
          Herndon, VA 20171                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gadiel & Carrie Cruz
          GTG Management LLC
                                                                                Contingent
          13325 Vennetta Way                                                    Unliquidated
          Windermere, FL 34786                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Georgette Tomsick
                                                                                Contingent
          1650 Black Hills Way                                                  Unliquidated
          North Las Vegas, NV 89031                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $76,844.21
          Grinder Taber & Grinder, Inc.
                                                                                Contingent
          1919 Lynnfield Rd B                                                   Unliquidated
          Memphis, TN 38119                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Contractor Services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hugh Bogart
                                                                                Contingent
          920 Derby Trace                                                       Unliquidated
          Nashville, TN 37211                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,005.00
          Ink Link Marketing LLC
                                                                                Contingent
          6073 NW 167 Street Suite C18                                          Unliquidated
          Hialeah, FL 33015                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          James McLeod
                                                                                Contingent
          1052 Chestnut Hill Circle SW                                          Unliquidated
          Marietta, GA 30064                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jeffrey & Karin Moyle
                                                                                Contingent
          1055 Riverside Walk Crossing                                          Unliquidated
          Sugar Hill, GA 30518                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner/Investor
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jeffrey Selgren
          Roknar LLC
                                                                                Contingent
          1922 Russell Avenue                                                   Unliquidated
          Cheyenne, WY 82001                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jena Woodyard
          Eagle Medical Management
          3001 West Silver Springs Blvd.
                                                                                Contingent
          Building 100                                                          Unliquidated
          Ocala, FL 34475                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner/Investor/Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          John & Francheska Noble
          23223 Front Beach Road
                                                                                Contingent
          Apt C3-104                                                            Unliquidated
          Panama City Beach, FL 32413                                           Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kama & Christy Mitchell
                                                                                Contingent
          46 Juniper Loop Court                                                 Unliquidated
          Ocala, FL 34480                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner/Investor
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Karen Mitchell
                                                                                Contingent
          5398 Sun Trail Drive                                                  Unliquidated
          Florissant, MO 63033                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kelly Donnell
                                                                                Contingent
          1650 Black Hills Way                                                  Unliquidated
          North Las Vegas, NV 89031                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,141.70
          KServicing (Kabbage Funding)
          925B Peachtree Street NE
                                                                                Contingent
          Suite 1688                                                            Unliquidated
          Atlanta, GA 30309                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Madison Ortiz
                                                                                Contingent
          19440 SWE 91st Lane                                                   Unliquidated
          Ocklawaha, FL 32179                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $117,500.00
          Med Direct Capital, LLC
                                                                                Contingent
          1075 Anchor Pt                                                        Unliquidated
          Delray Beach, FL 33444                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Merchant Services
                                                                                Contingent
          PO Box 6010                                                           Unliquidated
          Hagerstown, MD 21741-6010                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Merchant Services
          Last 4 digits of account number 4887                               Is the claim subject to offset?      No         Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michael Shaffer
          MMA LLC
                                                                                Contingent
          961 N 1075 W                                                          Unliquidated
          Layton, UT 84041                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner/Investor
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michelle Gregory
                                                                                Contingent
          1966 Normandy Drive                                                   Unliquidated
          Zanesville, OH 43701                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mikayla Shaffer
                                                                                Contingent
          961 N 1075 W                                                          Unliquidated
          Layton, UT 84041                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner/Investor
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nadina Hammonds
                                                                                Contingent
          253 Main Street Suite 109                                             Unliquidated
          Matawan, NJ 07747                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $189.16
          NATIONAL ENTERPRISE SYSTEM
          FOR PNC BANK
                                                                                Contingent
          2479 EDISON BLVD, UNIT A                                              Unliquidated
          Twinsburg, OH 44087-2340                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim: Collections
          Last 4 digits of account number 4804                               Is the claim subject to offset?      No         Yes



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 Debtor       Celebrity's Management Company, LLC                                                     Case number (if known)
              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,337.88
          NATIONAL ENTERPRISE SYSTEM
          FOR PNC BANK
                                                                                Contingent
          2479 EDISON BLVD, UNIT A                                              Unliquidated
          Twinsburg, OH 44087-2340                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim: Collections
          Last 4 digits of account number 1122                               Is the claim subject to offset?      No         Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,200.12
          Nationwide Mutual Insurance Comp.
          c/o Leviton Law Firm, Ltd.
                                                                                Contingent
          One Pierce Place, Suite 725W                                          Unliquidated
          Itasca, IL 60143                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Insurance Premiums
          Last 4 digits of account number 7456                               Is the claim subject to offset?      No         Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,251.26
          Nationwide Mutual Insurance Company
                                                                                Contingent
          PO Box 77210                                                          Unliquidated
          Minneapolis, MN 55480-7200                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Insurance Premiums
          Last 4 digits of account number 5716                               Is the claim subject to offset?      No         Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,685.00
          Nationwide Mutual Insurance Company
                                                                                Contingent
          One West Nationwide Blvd.                                             Unliquidated
          Columbus, OH 43215-2220                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Insurance Premium
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nestle Professional North America
                                                                                Contingent
          30002 Bainbridge Road                                                 Unliquidated
          Solon, OH 44139                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,811.01
          NuCO2, Inc.
                                                                                Contingent
          2800 SE Market Place                                                  Unliquidated
          Stuart, FL 34997                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number 8540                               Is the claim subject to offset?      No         Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56.42
          Oates Energy Inc.
                                                                                Contingent
          14286 Beach Blvd, Suite 12                                            Unliquidated
          Jacksonville Beach, FL 32250                                          Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $589.18
          Ocala Heating & Air Conditioning, LLC
                                                                                Contingent
          3695 SE 58th Avenue                                                   Unliquidated
          Ocala, FL 34480                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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 Debtor       Celebrity's Management Company, LLC                                                     Case number (if known)
              Name

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $135,955.40
          ODK Capital, LLC
          c/o Zwicker & Associates, P.C.
                                                                                Contingent
          80 Minuteman Road                                                     Unliquidated
          Andover, MA 01810-1008                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,051.99
          ODK Capital, LLC
          c/o Zwicker & Associates, P.C.
                                                                                Contingent
          80 Minuteman Road                                                     Unliquidated
          Andover, MA 01810-1008                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $503.40
          OpenTable
                                                                                Contingent
          One Montgomery Street, Suite 500                                      Unliquidated
          San Francisco, CA 94104                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number 1441                               Is the claim subject to offset?      No         Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Orlester Johnson
          c/o Stacy Clinton, Esq.
          The Clinton Law Office
                                                                                Contingent
          4862 Elvis Presley Blvd.                                              Unliquidated
          Memphis, TN 38116                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Oscar & Esther Estrada
          Omen LLC
                                                                                Contingent
          16024 Rising Star Drive                                               Unliquidated
          Clermont, FL 34714                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $458.36
          P1 Finance
                                                                                Contingent
          PO Box 922025                                                         Unliquidated
          Norcross, GA 30010                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Loan
          Last 4 digits of account number 6916                               Is the claim subject to offset?      No         Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Patrick Cirwithian
                                                                                Contingent
          156 Duck Hawk Circle                                                  Unliquidated
          Daytona Beach, FL 32119                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       Celebrity's Management Company, LLC                                                     Case number (if known)
              Name

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $65,252.03
          Paypal, Inc.
          c/o Enterprise Recovery, LLC
                                                                                Contingent
          301 Lacey St                                                          Unliquidated
          West Chester, PA 19382                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $319.22
          Peoples Gas
          c/o Transworld Systems Inc.
                                                                                Contingent
          500 Virginia Drive, Suite 514                                         Unliquidated
          Fort Washington, PA 19034                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Utilities
          Last 4 digits of account number 0669                               Is the claim subject to offset?      No         Yes


 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $130.81
          PNC BANK
          C/O CREDIT COLLECTION SERVICES
                                                                                Contingent
          725 CANTON STREET                                                     Unliquidated
          Norwood, MA 02062                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Collections
          Last 4 digits of account number 8220                               Is the claim subject to offset?      No         Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Quentin Anderson
                                                                                Contingent
          1780 Kettner Blvd #315                                                Unliquidated
          San Diego, CA 92101                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Residences at Markets West
                                                                                Contingent
          7400 SW 13th Road                                                     Unliquidated
          Gainesville, FL 32607                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Landlord
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,159.30
          Robert Patrick & Co.
                                                                                Contingent
          2 South Ave. East                                                     Unliquidated
          Cranford, NJ 07016                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rodney Williams
                                                                                Contingent
          922 Riverscape Street                                                 Unliquidated
          Bradenton, FL 34208                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner/Investor
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Roger & Cynthia George
                                                                                Contingent
          4895 Sandy Hill Drive                                                 Unliquidated
          Valdosta, GA 31601                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


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 Debtor       Celebrity's Management Company, LLC                                                     Case number (if known)
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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rudolph Rolle
                                                                                Contingent
          2973 Etowah Park Blvd.                                                Unliquidated
          Tavares, FL 32778                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Scott & Anissa Hargraves
          FYG Foods
                                                                                Contingent
          11015 Sandy Creek Drive                                               Unliquidated
          Sandy, UT 84094                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $494,000.00
          Scott Stephens
                                                                                Contingent
          20960 River Drive                                                     Unliquidated
          Dunnellon, FL 34431                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Partner/Investor
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,551.00
          Shankman Leone, P.A.
          707 N Franklin St
                                                                                Contingent
          Fifth Floor                                                           Unliquidated
          Tampa, FL 33602                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,883.97
          Spectrio, LLC
                                                                                Contingent
          PO Box 890271                                                         Unliquidated
          Charlotte, NC 28289-0271                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number 5454                               Is the claim subject to offset?      No         Yes


 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          SPEF Holding Company, LLC, et al.
          c/o Bass Berry & Sims
          Attn: T. Gaillard Ulhorn, Esq.
                                                                                Contingent
          100 Peabody Place, Suite 1300                                         Unliquidated
          Memphis, TN 38103                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Breach of Lease Guaranty
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $92,887.07
          Spire Law, LLC
                                                                                Contingent
          2572 W State Rd 426, Suite 2088                                       Unliquidated
          Oviedo, FL 32765                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       Celebrity's Management Company, LLC                                                     Case number (if known)
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 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,468.00
          TapMango Inc.
                                                                                Contingent
          5775 Yonge Street, Suite 1801                                         Unliquidated
          Toronto Ontario M2M 4J1                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $39,522.66
          The Leviton Law Firm, Ltd.
          For ADP - SBS
                                                                                Contingent
          One Pierce Place, Suite 725W                                          Unliquidated
          Itasca, IL 60143                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Payroll Services
          Last 4 digits of account number 0696                               Is the claim subject to offset?      No         Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $3,940,735.99
          Tower Harbor Club, LLC
          c/o Cynthia D. Stelzer, Esq.
          Kimball, Tirey & St. John LLP
                                                                                Contingent
          7676 Hazard Center Drive, Suite 900                                   Unliquidated
          San Diego, CA 92108                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Breach of Lease
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tre Harris
                                                                                Contingent
          2089 Century Avenue SE                                                Unliquidated
          Cleveland, TN 37311                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Franchisee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,425.00
          Upstart Loan Operations
                                                                                Contingent
          PO Box 1503                                                           Unliquidated
          San Carlos, CA 94070-7503                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Loan
          Last 4 digits of account number 9315                               Is the claim subject to offset?      No         Yes


 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150.00
          US Foods
                                                                                Contingent
          7004 E. Hanna                                                         Unliquidated
          Tampa, FL 33610                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number 4983                               Is the claim subject to offset?      No         Yes


 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,400.00
          Vonage
          101 Crawfords Corner Road
                                                                                Contingent
          Suite 2416                                                            Unliquidated
          Holmdel, NJ 07733                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Services Rendered
          Last 4 digits of account number 9582                               Is the claim subject to offset?      No         Yes




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 Debtor       Celebrity's Management Company, LLC                                                     Case number (if known)
              Name

 3.96      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $50,000.00
           Walter & Stephanie Harvey
                                                                                Contingent
           5703 SW 50th Avenue                                                  Unliquidated
           Ocala, FL 34474                                                      Disputed
           Date(s) debt was incurred                                         Basis for the claim: Partner/Investor
           Last 4 digits of account number                                   Is the claim subject to offset?         No      Yes


 3.97      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,325.00
           Wenzel Fenton Cabassa PA
                                                                                Contingent
           1110 N Florida Avenue, Suite 300                                     Unliquidated
           Tampa, FL 33602                                                      Disputed
           Date(s) debt was incurred 8/2023                                  Basis for the claim: Services Rendered
           Last 4 digits of account number                                   Is the claim subject to offset?         No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Altus Receivables Management
           For Cloud Kitchens                                                                         Line     3.21                                 6848
           Po Box 186
                                                                                                             Not listed. Explain
           Metairie, LA 70004-0186

 4.2       Amazon Business
           P.O. Box 81226                                                                             Line     3.4
           Seattle, WA 98108-1226
                                                                                                             Not listed. Explain

 4.3       ATT DIRECTV
           C/O IC SYSTEM                                                                              Line     3.11
           PO BOX 64378
                                                                                                             Not listed. Explain
           Saint Paul, MN 55164-0378

 4.4       CCC of New York, Inc.
           PO Box 288                                                                                 Line     3.17                                 2830
           Tonawanda, NY 14151-0288
                                                                                                             Not listed. Explain

 4.5       CFM
           For Aramark                                                                                Line     3.9
           PO Box 674257
                                                                                                             Not listed. Explain
           Marietta, GA 30006-0072

 4.6       Charles Ruse Jr.
           Ruse Law                                                                                   Line     3.14
           500 NE 8th Avenue
                                                                                                             Not listed. Explain
           Ocala, FL 34470

 4.7       FMA ALLIANCE LTD
           FOR UPSTART SMB/CRB                                                                        Line     3.93
           12339 CUTTEN RD
                                                                                                             Not listed. Explain
           Houston, TX 77066-1807

 4.8       Frederick C. Morello, PA
           Frederick C. Morello, Esq.                                                                 Line     3.5
           2nd Floor
                                                                                                             Not listed. Explain
           111 N. Frederick Avenue
           Daytona Beach, FL 32114

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 Debtor        Celebrity's Management Company, LLC                                               Case number (if known)
               Name

            Name and mailing address                                                             On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.9        Glankler Brown, PLLC
            Attn: Jeremy G. Alpert, Esq.                                                         Line     3.39
            6000 Poplar Avenue, Suite 400
                                                                                                        Not listed. Explain
            Memphis, TN 38119

 4.10       Ingold Law, PLLC
            For Central Restaurant Products                                                      Line     3.17                                 0196
            5555 Main Street
                                                                                                        Not listed. Explain
            Williamsville, NY 14221

 4.11       Lalchandani Simon PL
            Attn: Kubs Lalchandani, Esq.                                                         Line     3.52
            25 SE 2nd Avenue, Suite 1020
                                                                                                        Not listed. Explain
            Miami, FL 33131

 4.12       Marcadis Singer, P.A.
            Attn: Gilbert Singer, Esq.                                                           Line     3.17
            5104 South Westshore Blvd.
                                                                                                        Not listed. Explain
            Tampa, FL 33611

 4.13       Nestle USA, Inc.
            Attn: Legal Department                                                               Line     3.63
            30003 Bainbridge Road
                                                                                                        Not listed. Explain
            Solon, OH 44139

 4.14       Steven & Ricci, Inc.
            7739 E. Broadway Blvd., Suite 220                                                    Line     3.41
            Tucson, AZ 85710
                                                                                                        Not listed. Explain

 4.15       Tower Harbor Club, LLC
            100 Harbor Drive Suite 5                                                             Line     3.91
            San Diego, CA 92101
                                                                                                        Not listed. Explain

 4.16       UNITED STATES ATTORNEY
            300 NORTH HOGAN ST SUITE 700                                                         Line     2.1
            JACKSONVILLE, FL 32202-4204
                                                                                                        Not listed. Explain

 4.17       UNITED STATES ATTORNEY GENERAL
            US DEPARTMENT OF JUSTICE                                                             Line     2.1
            950 PENNSYLVANIA AVE NW
                                                                                                        Not listed. Explain
            WASHINGTON, DC 20530-0001


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  5,342,734.13

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                         5c.          $                    5,342,734.13




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 Fill in this information to identify the case:

 Debtor name         Celebrity's Management Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Celebrity's Management Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:
     2.1     Dee Dixon                         160 Ellsworth Circle                             ODK Capital, LLC                    D
                                               Saint Johns, FL 32259                                                                E/F        3.68
                                                                                                                                    G




Official Form 206H                                                      Schedule H: Your Codebtors                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Celebrity's Management Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                                          $0.00
       From 01/01/2023 to 12/31/2023
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $340,000.00
       From 01/01/2022 to 12/31/2022
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

       For prior year:
       From 01/01/2023 to 12/31/2023                                                           Sale of Membership Units                               $450,000.00


       For year before that:                                                                   Sale of
       From 01/01/2022 to 12/31/2022                                                           Membership/Franchise                                 $1,484,000.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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 Debtor       Celebrity's Management Company, LLC                                                       Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property

       JDMM Holdings-CE, LLC                                    Real property located at 2631 SE 58th                          4/10/2024                    Unknown
                                                                Avenue, Ocala, FL 34480 along with
                                                                personal property located inside.


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Max Advance vs. FREDRICK                         Collections                KINGS BOROUGH                                   Pending
               JACOBS, CELEBRITYS SOUL                                                     SUPREME COURT - CIVIL                           On appeal
               FOOD MANAGEMENT                                                             DIVISION                                        Concluded
               Unknown

       7.2.    Andrea Sherwood v.                               Labor Dispute              Middle District of Florida,                     Pending
               Celebrity's Management                                                      Ocala Division                                  On appeal
               Company, LLC, et al.                                                                                                        Concluded
               22-cv-419-BJD-PRL

       7.3.    Chriseanna Mitchell, et al. v.                   Labor Dispute              Middle District of Florida,                     Pending
               Celebrity's Management                                                      Ocala Division                                  On appeal
               Company, LLC, et al.                                                                                                        Concluded
               22-cv-00108-JSM-PRL

       7.4.    Chriseanna Mitchell, et al. v.                   Breach of                  County Court, Marion                            Pending
               Celebrity's Management                           Contract, et al.           County, Florida                                 On appeal
               Company, LLC, et al.                                                                                                        Concluded
               2023-CC-1054




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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 Debtor       Celebrity's Management Company, LLC                                                       Case number (if known)



               Case title                                       Nature of case             Court or agency's name and             Status of case
               Case number                                                                 address
       7.5.    Grinder Taber & Grinder, Inc.                    Collection                 Chancery Court, Shelby                      Pending
               v. Celebrity Soul Food Mgmt                                                 County, Tennessee                           On appeal
               Co., et al.                                                                                                             Concluded
               CH-22-1622

       7.6.    JDMM Holdings-CE, LLC v.                         Foreclosure                Circuit Court, Marion                       Pending
               Celebrity's Management                                                      County, Florida                             On appeal
               Company, LLC                                                                                                            Concluded
               23CA003028

       7.7.    Med Direct Capital, LLC v.                       Collection                 Circuit Court, Miami-Dade                   Pending
               Celebrity's Management                                                      County, Florida                             On appeal
               Company, LLC, et al.                                                                                                    Concluded
               2023-022788-CA-01

       7.8.    Tower Harbor Club, LLC v.                        Breach of                  Superior Court of                           Pending
               Celebrity's Management                           Contract                   California, San Diego                       On appeal
               Company, LLC, et al.                                                        County                                      Concluded
               37-2023-00013641-CU-BC-CTL

       7.9.    Burning Bush, LLC v.                             Eviction                   Small Claims, Marion                        Pending
               Celebrity's Management                                                      County, Florida                             On appeal
               Company, LLC                                                                                                            Concluded
               2023-SC-1137

       7.10 Central Products, Inc. v.                           Collection                 County Court, Marion                        Pending
       .    Celebrity's Management                                                         County, Florida                             On appeal
               Company, LLC                                                                                                            Concluded
               2024-CC-001296

       7.11 ODK Capital, LLC v.                                 Collection                 District Court, Salt Lake                   Pending
       .    Celebrity's Management                                                         County, Utah                                On appeal
               Company, LLC, et al.                                                                                                    Concluded
               249912925

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                          Value

       9.1.    American Heart Association                       Gave $2,500.00 contribution to charitable
                                                                organization.                                            9/2022                         $2,500.00

               Recipients relationship to debtor
               None


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3

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       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address
       11.1.    Lansing Roy, P.A.
                1710 Shadowood Lane, Suite
                210
                Jacksonville, FL 32207                               Attorney's fees and costs                                 6/20/2024                $2,938.00

                Email or website address
                kpaysinger@lansingroy.com

                Who made the payment, if not debtor?
                St. Matthews Baptist Church



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers           Total amount or
                                                                                                                        were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                     Date transfer          Total amount or
               Address                                          payments received or debts paid in exchange                was made                        value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                     Dates of occupancy
                                                                                                                            From-To
       14.1.    2631 SE 58th Avenue                                                                                         2/2020 - 4/2024
                Ocala, FL 34480

 Part 8:       Health Care Bankruptcies


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4

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 Debtor        Celebrity's Management Company, LLC                                                      Case number (if known)



15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services            If debtor provides
                                                                the debtor provides                                                     meals and housing,
                                                                                                                                        number of patients in
                                                                                                                                        debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was             Last balance
               Address                                          account number            instrument                   closed, sold,            before closing or
                                                                                                                       moved, or                         transfer
                                                                                                                       transferred
       18.1.     PNC Bank                                       XXXX-1953                    Checking                  10/20/2023                            $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     PNC Bank                                       XXXX-8131                    Checking                  8/2023                                $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Does debtor
                                                                     access to it                                                                still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5

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 Debtor      Celebrity's Management Company, LLC                                                        Case number (if known)




          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Does debtor
                                                                     access to it                                                                       still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 6

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 Debtor      Celebrity's Management Company, LLC                                                        Case number (if known)



              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Brill Bookkeeping Services, LLC                                                                                      1/2022 - present
                    Attn: Riley Vary
                    3821 SE 29th Court
                    Ocala, FL 34480

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Annointed for Prosperity Bookkeeping                                                                                 9/2022
                    Attn: Shonda Swain-Peaks
                    6160 SW Hwy 200 #110
                    Ocala, FL 34476

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Chriseanna Mitchell
                    c/o Edwin Green, Esquire

       26d.2.       Tower Harbor Club, LLC



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Taja Jacobs                                                                                        Managing Memberships                  97.185


       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Dee Dixon                                     160 Ellsworth Circle                                 Member                                .50
                                                     Saint Johns, FL 32259




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 Debtor      Celebrity's Management Company, LLC                                                        Case number (if known)



       Name                                          Address                                              Position and nature of any   % of interest, if
                                                                                                          interest                     any
       David Giusto                                  2813 W. Ottio Avenue                                 Member                       .259
                                                     Tampa, FL 33607

       Name                                          Address                                              Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Kama Mitchell                                 46 Juniper Loop Court                                Member                       .056
                                                     Ocala, FL 34480

       Name                                          Address                                              Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Christy Mitchell                              46 Juniper Loop Court                                Member                       .056
                                                     Ocala, FL 34480

       Name                                          Address                                              Position and nature of any   % of interest, if
                                                                                                          interest                     any
       David Gordon Somers                           2601 Tiny Town Road                                  Member                       .111
                                                     Clarksville, TN 37042

       Name                                          Address                                              Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Crayonnia Gordon Somers                       2601 Tiny Town Road                                  Member                       .111
                                                     Clarksville, TN 37042

       Name                                          Address                                              Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Jeffrey Moyle                                 1055 Riverside Walk Crossing                         Member                       .111
                                                     Sugar Hill, GA 30518

       Name                                          Address                                              Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Karin Moyle                                   1055 Riverside Walk Crossing                         Member                       .111
                                                     Sugar Hill, GA 30518

       Name                                          Address                                              Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Rodney Williams                               922 Riverscape Street                                Member                       .333
                                                     Bradenton, FL 34208

       Name                                          Address                                              Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Walter & Stephanie Harvey                     5703 SW 50th Avenue                                  Member                       .167
                                                     Ocala, FL 34474

       Name                                          Address                                              Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Michael Shaffer                               MMA LLC                                              Member                       .50
                                                     961 N 1075 W
                                                     Layton, UT 84041
       Name                                          Address                                              Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Mikayla Shaffer Clark                         961 N 1075 W                                         Member                       .50
                                                     Layton, UT 84041



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


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30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          July 5, 2024

 /s/    Taja Lee Jacobs                                                  Taja Lee Jacobs
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                                        United States Bankruptcy Court
                                                                                  Northern District of Florida
 In re       Celebrity's Management Company, LLC                                                                                                   Case No.
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                  $                  2,600.00
             Prior to the filing of this statement I have received .......................................................                     $                  2,600.00
             Balance Due ...................................................................................................................   $                      0.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               The above fee covers representation for the entire case and no additional charge for attorney fees except as set
               forth below.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representing client in an adversarial matter related to the Chapter 7, included but not limited to: adversary
               proceedings, objections to exemptions, motions for turnover, and motions to dismiss for bad faith or substantial
               abuse, and any amendments to documents filed before the Court.


                   ____________________________________________                                                           _________________
                   Debtor                                                                                                  Date


                   ____________________________________________                                                           _________________
                   Joint Debtor                                                                                            Date
                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     July 5, 2024                                                                                         /s/ Kevin B. Paysinger
     Date                                                                                                 Kevin B. Paysinger
                                                                                                          Signature of Attorney
                                                                                                          Lansing Roy PA
                                                                                                          1710 Shadowood Lane Suite 210
                                                                                                          Jacksonville, FL 32207
                                                                                                          (904) 391-0030x101 Fax:
                                                                                                          kpaysinger@lansingroy.com
                                                                                                          Name of law firm




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                                                             United States Bankruptcy Court
                                                                     Northern District of Florida
 In re      Celebrity's Management Company, LLC                                                           Case No.
                                                                                  Debtor(s)               Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:        July 5, 2024                                             /s/ Taja Lee Jacobs
                                                                        Taja Lee Jacobs/Managing Member
                                                                       Signer/Title




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              For Cloud Kitchens Po Box 186
              Metairie, LA 70004-0186


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              Anthony Anderson
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              Aramark
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              Lexington, KY 40509


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              ATT/DirectTV
              2260 E Imperial Hwy
              El Segundo, CA 90245


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              16650 Westgrove Dr. Suite 175
              Addison, TX 75001


              BentoBox Websites
              584 Broadway, 4th Floor
              New York, NY 10012


              Burning Bush, LLC
              2237 SW 19TH AVE ST, STE 101
              Ocala, FL 34471


              Cavis Callies
              Callies Enterprises LLC
              4209 Holiday Place
              Oklahoma City, OK 73112


              CCC of New York, Inc.
              PO Box 288
              Tonawanda, NY 14151-0288


              CDO Group
              333 W. Harrison Street
              Oak Park, IL 60304


              Central Products, LLC
              dba Central Restaurant Products
              7750 Georgetown Road
              Indianapolis, IN 46268


              CFM
              For Aramark PO Box 674257
              Marietta, GA 30006-0072


              Charles Ruse Jr.
              Ruse Law 500 NE 8th Avenue
              Ocala, FL 34470


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              c/o Pucin & Friedland
              5805 Sepulveda Blvd., 4th Floor
              Sherman Oaks, CA 91411


              Christopher Greigo
              31 Fir Loop
              Cedar Crest, NM 87008


              Clean Cut Lawn Care LLC
              101 NE 41st Avenue
              Ocala, FL 34470
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              Cloud Kitchens
              c/o The Leviton Law Firm, Ltd.
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              Spring Hill, FL 34609


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              Expand LLC
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              Akron, OH 44333


              Florida Express
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              Florida Natural Gas
              c/o Virtuoso Sourcing Group
              4500 Cherry Creek South Drive Suite 500
              Glendale, CO 80246
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              Florida Pest Control
              PO Box 13848
              Reading, PA 19612


              FMA ALLIANCE LTD
              FOR UPSTART SMB/CRB 12339 CUTTEN RD
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              Ingold Law, PLLC
              For Central Restaurant Products
              5555 Main Street
              Williamsville, NY 14221


              Ink Link Marketing LLC
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              Internal Revenue Service
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